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      UNITED STATED COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE


HLDS (B) STEEL SDN BHD AND
HLD CLARK STEEL PIPE CO., INC.,

Plaintiffs,

v.
                                                 Court No. 21-00638
UNITED STATES,

Defendant,

and

WELDED TUBE USA, INC.,
WHEATLAND TUBE COMPANY,
AND VALLOUREC STAR L.P.,

Defendant-Intervenors


                                 ORDER

      Upon consideration of the motion for judgment on the

administrative record filed by plaintiffs, the responses thereto filed by

the defendant and the defendant-intervenors, and all other papers and

proceedings herein, it is hereby:

      ORDERED that the motion is DENIED; and it is further
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     ORDERED that the U.S. Department of Commerce’s final

determination is sustained; and it is further

     ORDERED that plaintiffs’ complaint is DISMISSED.

     It is SO ORDERED.

                                  ______________________________
                                   Honorable M. Miller Baker, Judge
                                   U.S. Court of International Trade


Dated:     _______________________, 2022
           New York, New York




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      UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

HLDS (B) STEEL SDN BHD AND
HLD CLARK STEEL PIPE CO., INC.,

Plaintiffs,

v.

UNITED STATES,                                  Court No. 21-00562

Defendant,                                      PUBLIC DOCUMENT

and

WELDED TUBE USA, INC.,
WHEATLAND TUBE COMPANY,
AND VALLOUREC STAR L.P.,

Defendant-Intervenors


       DEFENDANT-INTERVENORS’ RESPONSE BRIEF IN
     OPPOSITION TO THE MOTION FOR JUDGMENT ON THE
                    AGENCY RECORD
                                 Roger B. Schagrin, Esq.
                                 Luke A. Meisner, Esq.
                                 Benjamin J. Bay, Esq.
                                 SCHAGRIN ASSOCIATES
                                 900 Seventh Street, NW, Suite 500
                                 Washington, DC 20001
                                 (202) 223-1700
                                 Counsel to Welded Tube USA, Inc.,
                                 Wheatland Tube Company, and
                                 Vallourec Star, L.P.
Dated: August 19, 2022
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                            GLOSSARY

Commerce
United States Department of Commerce

HLD Companies
HLDS (B) Steel Sdn Bhd and HLD Clark Steel Pipe Co., Inc.

IDM
Issues and Decision Memorandum

ITC
International Trade Commission




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      UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

HLDS (B) STEEL SDN BHD AND
HLD CLARK STEEL PIPE CO., INC.,

Plaintiffs,

v.

UNITED STATES,                                  Court No. 21-00562

Defendant,                                      PUBLIC DOCUMENT

and

WELDED TUBE USA, INC.,
WHEATLAND TUBE COMPANY,
AND VALLOUREC STAR L.P.,

Defendant-Intervenors


       DEFENDANT-INTERVENORS’ RESPONSE BRIEF IN
     OPPOSITION TO THE MOTION FOR JUDGMENT ON THE
                    AGENCY RECORD

      Pursuant to USCIT Rule 56.2 and the Court’s scheduling order,

Defendant-Intervenors Welded Tube USA, Inc., Wheatland Tube

Company, and Vallourec Star, L.P. submit the following response in

opposition to the motion for judgment on the agency record filed by

Plaintiffs HLDS (B) Steel Sdn Bhd and HLD Clark Steel Pipe Co., Inc.

(the “HLD Companies”) in the above-captioned action.
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          STATEMENT PURSUANT TO RULE 56.2(c)(1)

I.    Administrative Determination Under Review

      The administrative determination under review is the

Department of Commerce’s (“Commerce”) final results in the

circumvention inquiries published as Oil Country Tubular Goods From

the People’s Republic of China: Final Affirmative Determinations of

Circumvention, 86 Fed. Reg. 67,443 (Dep’t Commerce Nov. 26, 2021)

(“Final Determinations”), Appx01000-01001, and accompanying Issues

and Decision Memorandum (“IDM”), Appx01002-01021. The period

examined in these circumvention inquiries was January 1, 2017 to

November 30, 2020.

II.   Issues Presented for Review

      1. Whether Commerce’s determination that the HLD Companies’
         assembly or completion of OCTG in Brunei and the Philippines
         was minor or insignificant is supported by substantial evidence
         and in accordance with law.

Defendant-Intervenors’ Position: Yes, Commerce’s finding that the HLD

Companies’ assembly or completion of OCTG in Brunei and the

Philippines is minor or insignificant is supported by substantial

evidence and in accordance with law. Specifically, Commerce’s

comparative analysis of the production and investments involved in


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making welded OCTG in Brunei and the Philippines from Chinese-

made hot-rolled substrate vis-à-vis the production of that substrate in

China is not only reasonable and supported by substantial evidence, but

is also supported by precedent of this Court. Plaintiffs’ arguments to the

contrary are merely extra-statutory attempts to circumscribe

Commerce’s analysis. Moreover, Plaintiffs’ arguments, if validated,

would create loopholes in the trade laws to permit circumvention in

certain factual scenarios, contrary to the intent of Congress.

     2. Whether Commerce’s determination that a circumvention
        finding was appropriate to prevent evasion is reasonable.

Defendant-Intervenors’ Position: Yes, Commerce reasonably considered

that its finding of circumvention was appropriate to prevent evasion.

Moreover, Plaintiffs’ arguments with respect to the role of the

International Trade Commission (“ITC”) in a circumvention inquiry not

only have no support in the statute, but they are contrary to the specific

role given to the ITC in a circumvention inquiry under the law.

                       STATEMENT OF FACTS

     Defendant-Intervenors agree with the statement of the facts as

presented in Defendant’s response brief (ECF 34 at 3-7).



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                      STANDARD OF REVIEW

     The standard of review requires that the Court uphold an agency

determination as lawful unless it is “unsupported by substantial

evidence on the record, or otherwise not in accordance with law.” 19

U.S.C. § 1516a(b)(1)(B)(i). Substantial evidence means “more than a

mere scintilla” and “such relevant evidence as a reasonable mind might

accept as adequate to support a conclusion.” Suramerica de Aleaciones

Laminadas, C.A. v. United States, 44 F.3d 978, 985 (Fed. Cir. 1994)

(quoting Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)).

     In evaluating Commerce’s determination, the Court must decide

whether “the administrative record contain{s} substantial evidence to

support” Commerce’s decision and whether that decision was “rational.”

Matsushita Elec. Indus. Co. v. United States, 750 F.2d 927, 933 (Fed.

Cir. 1984). A plaintiff must do more than simply point to contradictory

evidence in the record to overturn an agency’s decision. “{T}he

possibility of drawing two inconsistent conclusions from the evidence

does not prevent an administrative agency’s finding from being

supported by substantial evidence.” Id. (citations omitted). To the

extent, therefore, that a plaintiff claims the evidence before the agency


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“could be open to multiple interpretations, its argument does not

require, or even allow, reversal.” Mitsubishi Heavy Indus., Ltd. v.

United States, 275 F.3d 1056, 1062 (Fed. Cir. 2001) (citing Matsushita,

750 F.2d at 933). In addition, a plaintiff may not ask the Court to re-

weigh the evidence and decide the case for the agency, as the role of the

Court is not to question the agency’s decisions about the weight or

quality of the evidence. See United States Steel Group v. United States,

96 F.3d 1352, 1356-57 (Fed. Cir. 1996) (it is the agency’s task to

evaluate and assign weight to the evidence); see also Matsushita, 750

F.2d at 933 (it is not the weight of the evidence, but whether it

reasonably supports a rational decision, that is evaluated by a

reviewing court). The Court may not substitute its judgment or its

interpretation of the evidence for that of the agency. See Matsushita,

750 F.2d at 936.

     In reviewing Commerce’s interpretation of a statutory provision,

this Court is guided by the principles set forth in Chevron U.S.A., Inc. v.

Natural Resources Defense Council, 467 U.S. 837 (1984). Under

Chevron, a court reviewing an agency’s interpretation of a statute must

begin with the statutory test: “{i}f the intent of Congress is clear, that is


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the end of the matter; for the court, as well as the agency, must give

effect to the unambiguously expressed intent of Congress.” 467 U.S. at

842-43 (citations omitted). If this Court finds that the statute is silent

or ambiguous with respect to the specific question at issue, the question

for the Court is whether the Commission’s interpretation is based on a

permissible interpretation of the statute. Id. at 842. The agency’s

reasonable interpretations of its statutory responsibilities are entitled

to judicial deference. Id. at 844; see also Pesquera Mares Australes Ltda.

v. United States, 266 F.3d 1372, 1379-80 (Fed. Cir. 2001).

     Defendant-Intervenors agree with the detailed discussion of the

legal framework regarding circumvention inquiries under 19 U.S.C.

§ 1677j set out in Defendant’s response brief. See ECF 34 at 12-16.

                              ARGUMENT

I.   Commerce Lawfully Found That The HLD Companies’
     Assembly Or Completion Of OCTG In Brunei And The
     Philippines Is Minor Or Insignificant

     The statute in 19 U.S.C. § 1677j(b)(2) instructs Commerce, as part

of its anti-circumvention inquiry, to determine whether “the process of

assembly or completion is minor or insignificant.” In doing so,

Commerce is instructed to consider multiple criteria, including “the

level of investment in the foreign country,” and “the nature of the
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production process in the foreign country.” 19 U.S.C. § 1677j(b)(2). As

the HLD Companies do not produce their own hot-rolled steel substrate

for use in processing OCTG, Commerce analyzed both of these criteria

by comparing: (1) the level of start-up investment and the production

processes of a hot-rolled steel facility in China; to (2) the investment

and operations of Plaintiffs’ facilities in the third countries, consistent

with Commerce’s analysis in prior anti-circumvention inquiries.

Appx01007-01014. Ultimately, Commerce correctly determined that the

level of investment required for an OCTG finishing facility is minor

compared to that of an integrated hot-rolled steel production facility,

and that the process of making hot-rolled coils is far more intensive

than the HLD Companies’ process of making welded OCTG from

Chinese-made hot-rolled substrate. Id. Plaintiffs challenge the

reasonableness of this aspect of Commerce’s determination.1




1Plaintiffs also challenge Commerce’s determination that the HLD
Companies’ assembly or completion of OCTG in Brunei and the
Philippines is minor or insignificant based on additional extra-statutory
and semantic assertions. These assertions are without foundation and
should be rejected for the reasons set out in Defendant’s brief. ECF 34
at 16-27.
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     This same issue arose in Al Ghurair Iron & Steel v. United States

in this Court. In Al Ghurair, the plaintiff challenged the reasonableness

of Commerce’s analysis that compared the levels of investment by third

country finishers of corrosion-resistant steel in the UAE (who used

Chinese-made hot-rolled steel inputs) to the level of investment of

integrated hot-rolled and corrosion-resistant mills in China. Al Ghurair

Iron & Steel v. United States, 536 F.Supp.3d 1357, 1371-1377 (Ct. Int’l

Trade 2021). This Court found that Commerce’s comparative analysis

on this point was, in fact, reasonable. Id.

     Plaintiffs’ proposition that Commerce should limit its analysis of

the entire manufacturing process of welded OCTG to only the further

processing that takes place in the third country, and then to only allow

a comparison of that investment and those operations with a facility in

China or the United States with identical manufacturing limitations,

would ultimately restrict Commerce by forcing them to look at the

general investment and production process of OCTG finishing

operations in isolation. Plaintiffs’ argument is, essentially, that the

production facilities for OCTG in Brunei and the Philippines are

significant on their own, and, therefore, that Commerce must determine


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that the level of investment and the production process is not minor or

insignificant.

     Plaintiffs’ contention is an attempt to prevent any affirmative

circumvention determination based only on the nature of the product

reviewed. In other words, Plaintiffs are arguing that any steel product

that may be circumventing an existing order should be free of scrutiny

regardless of any other facts supporting a circumvention finding, merely

because the investment required to establish finishing operations in a

third country would be considered expensive in isolation.

     Nothing in the statute, nor in the legislative history, puts an

absolute cap on the level of third-country investment over which

evasion is permitted. Applying such an exclusionary rule – when

Congress has made no such exclusion – would not only undermine the

circumvention statute, but also go against the original Congressional

intent underlying the circumvention statute. Congress intended to

provide Commerce with the discretion to adapt to “different cases {that}

present different factual situations” by avoiding bright-line rules, as

Congress “expects the Commerce Department to use this authority to




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the fullest extent possible to combat diversion and circumvention.”

Omnibus Trade Act of 1987, S. Rep. No. 100-71, (1987) at 100-101.

     Plaintiffs’ argument “ignores the comparative aspect of a

determination of whether the level of investment is minor or

insignificant.” See Al Gruhair, 536 F.Supp.3d at 1372. Without a

reference point for comparison to the level of investment required to

produce OCTG that includes production of its primary inputs (i.e., the

level of investment of integrated Chinese producers), Commerce would

have no context to evaluate whether the level of investment required to

turn hot-rolled steel into OCTG (i.e., the level of investment of OCTG

finishers in Brunei or the Philippines) is minor. In such a vacuum, a

requirement placing a hard, arbitrary cap on the value of investment,

without context to truly evaluate the difference between a further

processing facility and a facility that produces the substrate used in

that further processing facility, would give certain industries a license

to circumvent. This Court should reject Plaintiffs’ attempt to give

themselves such a license.




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II.   Commerce’s Determination That Action Is Appropriate To
      Prevent Evasion Was Reasonable

      Plaintiffs assert that the statute requires Commerce to make an

affirmative finding of “appropriateness” in order to make a final

conclusion of circumvention. ECF 33 at 54-60. Specifically, Plaintiffs

argue that Commerce cannot find that circumvention exists unless the

volume of OCTG exports from Brunei and the Philippines meet the

negligibility requirements applied by the ITC in its injury analysis

under 19 U.S.C. § 1677(24). Id. at 55.2 This attempt to supplant the

statutory requirements in circumvention inquiries after orders are

imposed with the statutory requirements applicable to antidumping

and countervailing duty investigations in the first instance is contrary

to the statutory scheme and should be rejected.




2Plaintiffs also argue that Commerce’s self-initiation of these inquiries,
and the domestic industries’ “tepid” participation by merely entering
appearances, providing surrogate country and value information, filing
a rebuttal brief, and attending a hearing, each make Commerce’s
appropriateness finding unreasonable. ECF 33 at 55-57. For the reasons
set out in Defendant’s brief, these arguments are without merit and
should be rejected. ECF 34 at 42-44.
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     As pointed out by the Defendant, the “circumvention statute does

not require that the ITC make an injury determination in connection

with a circumvention inquiry.” ECF 34 at 43 (citing Appx 01017).

Instead, Commerce only has to determine that action is appropriate to

prevent evasion. 19 U.S.C. § 1677j(b)(1)(E). Indeed, this Court has

found that “the statute does not impose a numerical threshold or a de

minimis exception—a company is either circumventing the order or it is

not.” Max Fortune Indus. Co. v. United States, 37 C.I.T. 549, 559 (2013)

(citing 19 U.S.C. § 1677j(b)(1)(E)). In Max Fortune Indus. Co. v. United

States, this Court recognized that the question regarding the

appropriateness of action in anti-circumvention cases hinges on

“whether the {} Order has been and continues to be circumvented.” Id.

at 559. When Commerce can answer that question in the affirmative

based on its analysis of the statutory requirements, then Commerce can

appropriately take action under 19 U.S.C. § 1677j(b)(1)(E). Id. As such,

there is no de minimis, negligibility, or other injury exceptions provided

for in Commerce’s circumvention inquiries.

     Despite the statutory language, Plaintiffs still assert that

Commerce “must justify why it overturned the ITC’s well-reasoned


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exclusion of {Brunei and the Philippines} as de minimis from its

affirmative injury determinations” in order to support a circumvention

finding as appropriate in this case. ECF 33 at 60. This assertion,

however, completely ignores the fact that consideration of the effect of

Commerce’s circumvention finding in the context of the ITC’s prior

injury findings are explicitly provided for elsewhere in the statute. They

have no bearing on this case.

     Specifically, the statute provides for a process of notification by

Commerce to the ITC regarding the inclusion of the circumvented

material under an antidumping and/or countervailing duty order, the

right to request consultations by the ITC, and, if the ITC believes “that

a significant injury issue is presented by the proposed inclusion,” the

ITC has the ability to provide written advice to Commerce as to

“whether the inclusion would be inconsistent with the affirmative

determination of the {ITC} on which the order or finding is based.” 19

U.S.C. § 1677j(e)(1)-(3). If such advice is given, Commerce is only

required to “take into account {this} advice provided by the {ITC}…

before making a determination.” 19 U.S.C. § 1677j(b)(1).




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     As such, Plaintiffs’ position is not only extra-statutory, but also

redundant. In these inquiries, Commerce determined that all of the

statutory elements under 19 U.S.C. § 1677j(b)(1) were satisfied,

supporting a circumvention finding against imports of OCTG from

Brunei and the Philippines made from Chinese hot-rolled substrate.

Appx01000-01021. Commerce notified the Commission of its

determinations of circumvention per its statutory obligation.

Appx04630-04631. The ITC did not request consultations with

Commerce. In other words, the ITC determined that inclusion of OCTG

from Brunei and the Philippines made from Chinese substrate is

consistent with the ITC’s affirmative determination in its original

investigations. Plaintiffs’ contention that 19 U.S.C. § 1677j(b)(1)(E)

somehow obligates Commerce to reconsider the ITC’s decision – which

the ITC already determined was not worthy of reconsideration – is

unfounded.

     Plaintiffs argue that this Court “should not countenance {} agency

overreach.” ECF 33 at 60. Yet, Plaintiffs take the position that this

Court should order Commerce to bypass the explicit role of the ITC in

circumvention inquiries set out by Congress in order to give those that


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evade trade remedy orders carte blanche to continue their evasion

without consequences. Plaintiffs’ position directly conflicts with the

statutory scheme set out by Congress. Commerce considered the

appropriateness of its actions within the structure of the circumvention

statute. Commerce also followed the explicit requirements for soliciting

the involvement of the ITC in its inquiries. The ITC never indicated

that any reconsideration of its original injury determination was

required. As such, Commerce’s determination that action was

appropriate to prevent circumvention in this case was supported by

substantial evidence and in accordance with law.

III. Conclusion

     For the reasons in this and Defendant’s brief, (see ECF 34 at 16-

44), this Court should reject Plaintiffs’ challenge to a reasonable

Commerce determination and uphold Commerce’s Final Determinations

as supported by substantial evidence and in accordance with law.

Defendant-Intervenors, therefore, respectfully request that Plaintiffs’

motion for judgment on the agency record be denied.




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                                Respectfully submitted,

                                /s/ Benjamin J. Bay
                                Roger B. Schagrin, Esq.
                                Luke A. Meisner, Esq.
                                Benjamin J. Bay, Esq.
                                SCHAGRIN ASSOCIATES
                                900 Seventh Street, NW, Suite 500
                                Washington, DC 20001
                                (202) 223-1700
                                Counsel to Welded Tube USA, Inc.,
                                Wheatland Tube Company, and
                                Vallourec Star, L.P.


Dated: August 19, 2022




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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing response brief contains 3,288
words (including text, quotations, footnotes, headings, and attachments)
and therefore complies with the word limitation set forth in the Court’s
Chamber’s Procedures.



Dated: August 19, 2022                       /s/ Benjamin J. Bay
                                             Benjamin J. Bay




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